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             FEDEX GROUND PACKAGE SYSTEM, INC.
        8

        9                        UNITED STATES DISTRICT COURT
      10              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
      11

      12     DOMINIQUE WASHINGTON,                   Case No: 2:19-cv-05226-MCS-KS
      13                       Plaintiff,
                                                     DEFENDANT FEDEX GROUND
      14             v.                              PACKAGE SYSTEM, INC.’S
                                                     NOTICE OF MOTION AND
      15     FEDEX GROUND PACKAGE                    MOTION IN LIMINE NO. 2 TO
             SYSTEM, INC., a Delaware                EXCLUDE TESTIMONY
      16     corporation; and DOES through 20,       REGARDING THE RELIGIOUS
             inclusive,,                             BELIEFS OF THIRD PARTY
      17                                             WITNESSES; [PROPOSED] ORDER
                               Defendant.
      18                                             Final Pretrial Conference
      19                                             Date:           June 21, 2021
                                                     Time:           2:00 p.m.
      20                                             Location:       United States Courthouse
                                                                     350 W. First Street
      21                                                             Courtroom 7C, 7th Floor
                                                                     Los Angeles, CA 90012
      22

      23                                             Complaint Filed: May 14, 2019
                                                     Trial Date:      July 13, 2021
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        1            TO THE HONORABLE COURT, PLAINTIFF DOMINIQUE
        2    WASHINGTON AND HER ATTORNEY OF RECORD:
        3            PLEASE TAKE NOTICE THAT on June 21, 2021, at 2:00 p.m., or as
        4    soon thereafter as it may be heard, Defendant FedEx Ground Package System, Inc.
        5    (“Defendant” or “FedEx Ground”), will, and hereby does, move this Court for an
        6    order excluding testimony regarding the religious beliefs, including views on
        7    abortion and a woman’s right to choose, of third party witnesses. This motion will
        8    be made in the First Street Federal Courthouse before the Honorable Mark C.
        9    Scarsi, United States District Judge, located at 350 W. 1st Street, Los Angeles,
      10     California 90012, Courtroom 7C, 7th Floor.
      11             This motion is made on the grounds that testimony regarding the religious
      12     beliefs of third party witnesses is irrelevant, is inadmissible as it relates to character
      13     evidence, and will serve only to improperly inflame the passions of the jury in
      14     violation of Federal Rules of Evidence 401, 402, 403, and 610. Moreover, the
      15     probative value of such evidence is outweighed by the prejudicial effect.
      16             This motion is based on this Notice of Motion and Motion and the
      17     Memorandum of Points and Authorities contained herein, the pleadings and papers
      18     on file in this action, and the argument of counsel presented at the hearing on the
      19     motion.
      20             As set forth in the attached Declaration of Sean F. Daley, pursuant to Local
      21     Rule 7-3, counsel for FedEx Ground timely met and conferred with Plaintiff’s
      22     counsel on this motion.
      23      DATE: June 1, 2021                       FISHER & PHILLIPS LLP
      24
                                                   By: /s/Sean F. Daley___________________
      25                                               REGINA A. PETTY
                                                       SHAUN J. VOIGT
      26                                               SEAN F. DALEY
                                                       Attorneys for Defendant
      27                                               FEDEX GROUND PACKAGE
                                                       SYSTEM, INC.
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        1                    MEMORANDUM OF POINTS AND AUTHORITIES
        2    I.      INTRODUCTION
        3            Plaintiff Dominique Washington (“Plaintiff”) alleges that Defendant FedEx
        4    Ground Package System, Inc. (“Defendant” or “FedEx Ground”) discriminated and
        5    wrongfully terminated her in violation of the California Fair Employment Housing
        6    Act because she was pregnant. Plaintiff was a part-time package handler at the
        7    Santa Fe Springs station who was terminated for poor attendance less than a year
        8    after she was hired pursuant to the Package Handler Attendance Policy that Plaintiff
        9    signed and accepted as a requirement of the job. Her 30-day attendance history
      10     from April 13 to May 10, 2017 had eleven infractions of the attendance policy.
      11     Plaintiff’s infractions included three no call/no show occurrences in less than two
      12     weeks. In her final week, there were three consecutive unexcused days of absence
      13     (May 8, 2017, May 9, 2017 and May 10, 2017).
      14             As a short-term, part-time employee, Plaintiff was ineligible for family
      15     medical leave under the FMLA or CFRA for herself and her family during the eight
      16     months of her employment. Plaintiff neither submitted a request for a disability
      17     accommodation nor did she submit any healthcare provider’s notes to excuse her
      18     from or limit her work schedule due to pregnancy.
      19             Plaintiff alleges she was terminated while she was on pre-approved medical
      20     leave related to terminating her pregnancy. Casey Robledo (“Mr. Robledo”) was
      21     Plaintiff’s supervisor and wrote Plaintiff up for missing work while Plaintiff alleges
      22     she was on medical leave related to her pregnancy. These write-ups were used to
      23     terminate Plaintiff’s employment. FedEx Ground denies these allegations and
      24     states that Plaintiff was written up for unexcused absences during this period.
      25             Mr. Robledo did not know on May 11, 2017, when Plaintiff was terminated
      26     (or at any time prior to that date), that Plaintiff wanted time off to terminate her
      27     pregnancy. Email correspondence from the Santa Fe Springs office administrator
      28     related to calls and messages from employees calling off from work do not show
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        1    that Plaintiff disclosed to FedEx Ground any pregnancy related symptoms or an
        2    absence scheduled for the purpose of terminating her pregnancy.
        3            During the depositions of Mr. Robledo and other FedEx Ground witnesses,
        4    including Sort Manager, Alejandro Nunez, and Operations Manager, Melissa
        5    Madrid, Plaintiff’s counsel questioned the witnesses about their religious beliefs,
        6    including their views on abortion and a woman’s right to choose. The questions
        7    [highlighted in yellow] included:
        8            Pg. 102: 24        Q. Are you a religious person?
        9            Pg. 103:5          Q. Do you believe in abortion?
      10             Pg. 104:21-25      Q. Do you think a woman should have the right to choose
      11                                – to terminate a pregnancy?
      12     See Declaration of Sean F. Daley, Exhibit A (relevant excerpts of the deposition
      13     of Casey Robledo taken on November 12, 2019). This line of questioning was
      14     objected to based on the witnesses’ privacy rights as well as relevancy since each
      15     of the witnesses testified that they did not know Plaintiff was pregnant or that
      16     Plaintiff was having or intended to have an abortion. See id. at pg. 42:5-6, 53:5-8,
      17     55:2-4, 100:17-25, 105:24-106:2 [highlighted in green]; Exhibit B (relevant
      18     excerpts of the deposition of Alejandro Nunez taken on November 12, 2019), at pg.
      19     53:9-16, 55:2-5; Exhibit C (relevant excerpts of the first volume of the deposition
      20     of Melissa Madrid taken on January 9, 2020), at pg. 73:18-74:1; Exhibit D
      21     (relevant excerpts of the second volume of the deposition of Melissa Madrid taken
      22     on May 15, 2020), at pg. 170:19-171:5.
      23             FedEx Ground anticipates that Plaintiff will ask similar questions regarding
      24     third party witnesses’ religious beliefs at the time of trial. However, such testimony
      25     regarding a witness’ personal and religious beliefs are privileged. Moreover, such
      26     testimony is irrelevant here as neither Mr. Robledo nor any other witness, including
      27     Mr. Nunez and Ms. Madrid, testified that they knew that Plaintiff was pregnant or
      28     that Plaintiff was having or intended to have an abortion. Thus, the personal and
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        1    emotional nature of such irrelevant testimony regarding witnesses’ religious beliefs
        2    will serve only to inflame the passions of the jury, rendering the testimony far more
        3    prejudicial than probative.
        4    II.     LEGAL ARGUMENT
        5            A.      The Personal and Religious Beliefs of FedEx Ground’s Witnesses
        6                    are Privileged and Irrelevant Here Because No Witness Had Any
        7                    Knowledge of Plaintiff’s Pregnancy.
        8            Any testimony regarding a witness’ religious beliefs is privileged and
        9    irrelevant and should be excluded in its entirety. FRE 401 states that “Evidence is
      10     relevant if: (a) it has any tendency to make a fact more or less probable than it
      11     would be without the evidence; and (b) the fact is of consequence in determining
      12     the action.” Moreover, “[i]rrelevant evidence is not admissible.” Fed. R. Evid. 402.
      13     And, even with regards to relevant evidence, the Court has wide latitude to exclude
      14     it the probative value is substantially outweighed by a danger of “unfair prejudice,
      15     confusing the issues, misleading the jury, undue delay, wasting time, or needlessly
      16     presenting cumulative evidence.” Fed. R. Evid. 403. Finally, “[e]vidence of a
      17     witness’s religious beliefs or opinions is not admissible to attack or support the
      18     witness’s credibility.” Fed. R. Evid. 610. Courts routinely exclude evidence that is
      19     not relevant to the allegations found in the parties’ pleadings. See, e.g., Lloyd v.
      20     Pac. Elec. Ry. Co., 207 F.2d 662 (9th Cir. 1953).
      21             Here, there is no tenable argument that a witness’ personal and religious
      22     beliefs about abortion are relevant or that Plaintiff’s need for the information
      23     substantially outweighs the witness’ right to privacy in his or her personal/religious
      24     beliefs. For example, multiple times throughout Mr. Robledo’s deposition,
      25     Plaintiff’s counsel, Daniel Friedman, asked Mr. Robledo about his knowledge of
      26     Plaintiff’s pregnancy:
      27             Friedman:          Did she ever tell you she was pregnant?
      28             Robledo:           No.
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        1             Friedman:          So she didn’t tell you at this point that she thought she
        2                                was pregnant and needed a day off to go check?
        3             Robledo:           No.
        4             Friedman:          And did she mention she was nauseous because she was
        5                                – she felt pregnant?
        6             Robledo:           No.
        7             Friedman:          When was the first time that you found out that Ms.
        8                                Washington was pregnant?
        9             Robledo:           I never found out. I never even knew she was pregnant.
      10              Friedman:          Until today?
      11              Robledo:           Yeah. Until this meeting right now.
      12              Friedman:          And she didn’t try to mention that when you were
      13                                 terminating her?
      14              Robledo:           No.
      15     Ex. A, Robledo Depo., at pg. 42:5-6; 53:5-8; 55:2-4; 100:17-25. Plaintiff’s counsel
      16     even implicitly accepted Mr. Robledo’s assertion that he had no knowledge of
      17     Plaintiff’s pregnancy:
      18              Friedman:          Did you – did you – if you had known that she was
      19                                 pregnant, would you have followed this pregnancy leave
      20                                 and accommodation?
      21              Robledo:           Of course.
      22     Id. at pg. 100:7-9. Mr. Nunez and Ms. Madrid were also asked if they knew
      23     Plaintiff was pregnant.      They both testified that they had no knowledge of
      24     Plaintiff’s pregnancy. See Ex. B, Nunez Depo., at pg. 53:9-16, 55:2-5; Ex. C,
      25     Madrid Depo. Vol. 1, at pg. 73:18-74:1; Ex. D, Madrid Depo. Vol. 2, at pg. 170:19-
      26     171:5.
      27              In this matter, views on abortion could only possibly be relevant if they have
      28     bearing on Plaintiff’s pregnancy and termination; even then, their relevance
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        1    remains dubious at best. Mr. Robledo testified—under oath—at least four different
        2    times that he had no knowledge of Plaintiff’s pregnancy. Mr. Nunez and Ms.
        3    Madrid also testified under oath that they did not have knowledge of Plaintiff’s
        4    pregnancy. Therefore, Plaintiff cannot establish any basis for relevance and cannot
        5    demonstrate that these witnesses’ personal/religious beliefs about abortion are
        6    needed in this case when the witnesses testified under penalty of perjury that they
        7    did not know Plaintiff was pregnant at any point during her employment. It follows
        8    that none of these witnesses had any knowledge Plaintiff had an abortion during
        9    her employment with FedEx Ground.
      10             Moreover, inserting these witnesses’ personal and/or religious views on
      11     abortion into this case would only serve to confuse the issues and mislead jurors in
      12     the future, thus it should also be precluded under Rule 403 of the Federal Rules of
      13     Evidence. And lastly, if Plaintiff were to use the witnesses’ religious beliefs to
      14     attack their credibility for whether they knew about the pregnancy (or any other
      15     matter), this would be impermissible under FRE 610’s prohibition on the use of
      16     religious beliefs. In short, the Federal Rules of Evidence fully bar this line of
      17     questioning and testimony before a jury. Lastly, if the inference to be drawn from
      18     the evidence is the result of speculation or conjecture, the underlying evidence is
      19     not relevant and therefore should be excluded. See, e.g., Engstrand v. Pioneer
      20     HiBred Int’l, Inc., 946 F.Supp. 1390, 1396, aff’d (8th Cir. 1997) 112 F3d 513;
      21     American Cancer Soc. v. Cook, 675 F.3d 524, 528-29 (5th Cir. 2012); General
      22     Considerations, Rutter Group Prac. Guide Fed. Civ. Trials & Ev. Ch. 8B.
      23             Here, it seems that Plaintiff’s counsel attempts to conjecture that Mr.
      24     Robledo (or any of the witnesses) is opposed to abortion and his personal beliefs
      25     on abortion were somehow indicative that he would discriminate against someone
      26     in the workplace context as a result of that belief. This attempt to twist assumed
      27     privately held beliefs into evidence of discrimination requires pure speculation and
      28     has no relevance to this matter, especially considering that Mr. Robledo and the
                                                      6
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        1    other witnesses testified under oath that they did not know Plaintiff was pregnant.
        2            B.      The Right to Privacy of FedEx Ground’s Witnesses Prevents
        3                    Disclosure of Private Religious Beliefs.
        4            The Right of Privacy is a privilege recognized by the federal courts.
        5    Although federal courts do recognize a general right of privacy, it is not absolute
        6    and the nature of the privacy will be weighed against the need for the information
        7    and interest in disclosure. Rubin v. Regents of Univ. of Cal., 114 F.R.D. 1, 2 (N.D.
        8    Cal. 1986); Allen v. Woodford (E.D. Cal. Jan. 30, 2007, No. CV-F-05-1104 OWW
        9    LJO) 2007 U.S. Dist. LEXIS 11004, at 6-7. Courts must conduct this balancing test
      10     regarding private matters. Ragge v. MCA/Universal, 165 F.R.D. 601 (C.D. Cal.
      11     1995). The court, in Cook v. Yellow Freight System, Inc., 132 F.R.D. 548, 551 (E.D.
      12     Cal. 1990), commented on the appropriateness of balancing the right to privacy
      13     with litigation goals:
      14             “While this court is of the view that such a balancing is appropriate, this
      15             court is also mindful of the fact that, by its very nature, litigation has a
      16             tendency to make public the sort of information that individuals
      17             otherwise would prefer to keep private. Public disclosure, in the end, is
      18             not only natural and generally unavoidable but also necessary and
      19             healthy to a process so dependant on accuracy and truth. Nonetheless,
      20             the initiation of a law suit, does not, by itself, grant plaintiffs the right
      21             to rummage unnecessarily and unchecked through the private affairs of
      22             anyone they choose. A balance must be struck.” The court also noted
      23             that even when a balance is struck, “‘scope of disclosure will be
      24             narrowly circumscribed; such an invasion of the right to privacy must
      25             be drawn with narrow specificity and is permitted only to the extent
      26             necessary for a fair resolution of the lawsuit.’”
      27     Cook v. Yellow Freight Sys., Inc., 132 F.R.D. at 552, citing with approval
      28     Moskowitz v. Super. Ct., 137 Cal. App. 3d 313, 316, (1982) (emphasis added).
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        1            “When the constitutional right of privacy is involved, the party seeking
        2    discovery must demonstrate a compelling need for discovery, and that compelling
        3    need must be so strong as to outweigh the privacy right when these two competing
        4    interests are carefully balanced.” Artis v. Deere & Co., 276 F.R.D. 348, 352 (N.D.
        5    Cal. 2011) (internal quotations omitted). There is no requisite precision between
        6    questions regarding religious beliefs and views on abortion and the allegations
        7    asserted in the Complaint. Plaintiff has not alleged that Mr. Robledo (who is a
        8    percipient witness and not a party to this action) or any other witness had any
        9    religious or personal beliefs about her pregnancy or abortion that resulted in
      10     Plaintiff’s termination. See generally Plaintiff’s Complaint. Moreover, Plaintiff
      11     has yet to provide a compelling interest that would be so strong as to outweigh a
      12     witness’ privacy right to keep personal and religious beliefs regarding abortion
      13     outside the public sphere. Artis, 276 F.R.D. at 352. The privilege of privacy is
      14     fundamental and here, the witnesses’ personal and religious views on abortion fall
      15     squarely within this protection. Accordingly, such evidence should be excluded.
      16     III.    CONCLUSION
      17             For all of the above-stated reasons, FedEx Ground respectfully requests an
      18     order excluding testimony regarding the religious beliefs, including views on
      19     abortion and a woman’s right to choose, of third party witnesses.
      20

      21      DATE: June 1, 2021                    FISHER & PHILLIPS LLP
      22

      23                                        By: /s/Sean F. Daley___________________
                                                    REGINA A. PETTY
      24                                            SHAUN J. VOIGT
                                                    SEAN F. DALEY
      25                                            Attorneys for Defendant
                                                    FEDEX GROUND PACKAGE
      26                                            SYSTEM, INC.
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        1                                   PROOF OF SERVICE
                                          (CCP § 1013(a) and 2015.5)
        2
                    I, the undersigned, am employed in the County of Los Angeles, State of
        3    California. I am over the age of 18 and not a party to the within action; am
             employed with Fisher & Phillips LLP and my business address is 444 South Flower
        4    Street, Suite 1500, Los Angeles, California 90071.
        5           On June 1, 2021, I served the foregoing document entitled DEFENDANT
             FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION
        6    AND MOTION IN LIMINE NO. 2 TO EXCLUDE TESTIMONY
             REGARDING THE RELIGIOUS BELIEFS OF THIRD PARTY
        7    WITNESSES; [PROPOSED] ORDER on all the appearing and/or interested
             parties in this action by placing  the original   a true copy thereof enclosed in
        8    sealed envelope(s) addressed as follows:
        9
              Kaveh S. Elihu, Esq.                         Attorney for Plaintiff
      10      EMPLOYEE JUSTICE LEGAL GROUP                 DOMINIQUE WASHINGTON
              3055 Wilshire Boulevard, Suite 1120
      11      Los Angeles, CA 90010                        Tel: 213.382.2222
                                                           Fax: 213.382.2230
      12                                                   E-mail: kelihu@ejlglaw.com;
                                                           dfriedman@ejlglaw.com;
      13                                                   hortiz@ejlglaw.com

      14
                    [by ELECTRONIC SERVICE] - Based on a court order or an agreement
      15             of the parties to accept service by electronic transmission, I caused the
                     documents to be sent to the persons at the electronic notification address
      16             listed above.
      17            [by PERSONAL SERVICE] - I caused to be delivered by messenger such
                     envelope(s) by hand to the office of the addressee(s). Such messenger is
      18             over the age of eighteen years and not a party to the within action and
                     employed with Express Network, whose business address is 1605 W.
      19             Olympic Boulevard, Suite 800, Los Angeles, CA 90015.
      20            I declare under penalty of perjury under the laws of the State of California
             that the foregoing is true and correct.
      21

      22             Executed June 1, 2021, at Los Angeles, California.
      23       Mayra Hernandez                      By: /s/Mayra Hernandez
                             Print Name                                   Signature
      24

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                                               PROOF OF SERVICE
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